                       Case 21-1975, Document 210, 01/20/2023, 3455849, Page1 of 5




                                                   STATE OF NEW YORK
                                            OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                            BARBARA D. UNDERWOOD
ATTORNEY GENERAL                                                                                               SOLICITOR GENERAL
                                                                                                         DIVISION OF APPEALS & OPINIONS


                                                              January 20, 2023

       Catherine O’Hagan Wolfe
       Clerk of the Court
       U.S. Court of Appeals for
         the Second Circuit
       40 Foley Square
       New York, NY 10007

                 Re:      New York State Telecomm. Ass’n v. James, No. 21-1975

       Dear Ms. Wolfe:

              I write on behalf of defendant-appellant New York Attorney General Letitia
       James, in further response to the Court’s questioning during the oral argument held
       on January 12, 2023, to elaborate on why the stipulated final judgment the district
       court entered below constitutes an appealable final decision under 28 U.S.C. § 1291.

       A.        The District Court Enters a Stipulated Final Judgment

              In April 2021, plaintiffs-appellees—a group of trade associations whose
       member companies offer broadband internet access service in New York—filed this
       lawsuit asserting that federal law preempted New York’s Affordable Broadband Act
       (ABA)1 under theories of both field and conflict preemption. Requesting declaratory
       and injunctive relief, the complaint raised two claims based on the same underlying
       preemption theories: (i) that the ABA was invalid under the Supremacy Clause of the
       United States Constitution; and (ii) that New York’s enforcement of the ABA would
       “deprive the Associations’ members of their rights under the Constitution and laws
       of the United States, in violation of 42 U.S.C. § 1983.” (Joint Appendix (J.A.) 96.)

            On June 11, 2021, in a thirty-four-page opinion issued after full briefing and
       argument, the district court preliminarily enjoined the ABA’s enforcement, holding


       1   See General Business Law § 399-zzzzz.

           28 LIBERTY STREET, NEW YORK, NY 10005-1400 • PHONE (212) 416-8020 • FAX (212) 416-8962 *NOT FOR SERVICE OF PAPERS
                                                          WWW.AG.NY.GOV
           Case 21-1975, Document 210, 01/20/2023, 3455849, Page2 of 5




that plaintiffs had shown a likelihood of success on the merits of each preemption
theory. (See J.A. 137, 145, 155.) Defendant appealed that decision. See No. 21-1603
(2d Cir., docketed June 30, 2021).

       Given the firm nature of the district court’s legal conclusions about preemption
and the importance of these issues, the parties proposed that the district court enter
a stipulated final judgment and permanent injunction based on the court’s reasoning
and conclusions in its preliminary injunction decision. In July 2021, the district court
entered the final judgment, which included both a declaratory judgment that federal
law preempted the ABA and a permanent injunction against the statute’s
enforcement.2 (J.A. 156-159.) The judgment recited that it was based on the reasons
given in the district court’s June 11 decision granting a preliminary injunction. (J.A.
157.) The judgment also recited that “defendant expressly reserves all appellate
rights in this matter” and that plaintiffs recognized defendant’s right to appeal the
final judgment, declaration, and permanent injunction. (J.A. 157.) And it further
ordered plaintiffs’ second cause of action (based on § 1983) dismissed without
prejudice, to which plaintiffs had agreed. (J.A. 157.) Defendant then appealed the
declaratory judgment and permanent injunction, and the parties moved to withdraw
the earlier-filed and now-moot appeal of the preliminary injunction.

B.    The Stipulated Judgment Is Final and Appealable

        At oral argument, the Court inquired whether the procedures followed here
generated an appealable final judgment. In particular, the Court inquired whether:
(i) the judgment was final when the district court, at the parties’ invitation, had
dismissed plaintiffs’ second claim for relief (the § 1983 claim) “without prejudice”; and
(ii) the stipulated final judgment resembled a settlement agreement, the terms of
which the signatories ordinarily may not later challenge. The judgment below was
final and appealable when entered. And even if the Court disagrees, any imperfection
has since been cured on the record at oral argument or may be promptly cured.

       In questioning at oral argument, the Court referenced the general rule that a
plaintiff may “appeal an adverse ruling disposing of fewer than all of its claims
following the plaintiff’s voluntary relinquishment of its remaining claims,” but only
if the remaining claims are dismissed “with prejudice.” Chappelle v. Beacon
Commc’ns Corp., 84 F.3d 652, 653 (2d Cir. 1996). Extending also to defendant
“counter-claimants,” this rule permits parties “to retain control of their own claims
while also ensuring that voluntary dismissals are not used to obtain piecemeal
appellate review.” Ali v. Federal Ins. Co., 719 F.3d 83, 89 (2d Cir. 2013). Consistent
with that rationale, appellate jurisdiction also will arise where a remaining claim is
dismissed “without prejudice to refiling it if, but only if, the dismissal of [the other]


2 Two weeks later, the district court amended the clerk’s judgment to delete an
erroneous description of the judgment as one based on settlement. (See J.A. 160-161.)

                                           2
            Case 21-1975, Document 210, 01/20/2023, 3455849, Page3 of 5




claims was reversed on appeal.” Purdy v. Zeldes, 337 F.3d 253, 257-58 (2d Cir. 2003).
In this scenario, a reversal may result in further litigation, whereas an affirmance
will end the case—much like any other appeal of a final judgment of dismissal. Thus,
“the finality rule is not implicated in the same way” as with an unconditional
dismissal without prejudice, and this type of “conditional waiver” generates a “final
judgment reviewable by this court.” Id. at 258.

        Here, as the Court pointed out, the final judgment did not expressly condition
refiling of plaintiffs’ § 1983 claim on an appellate reversal. Yet the same concerns
motivating Purdy’s imposition of that condition are satisfied. Indeed, unlike in the
line of decisions just discussed, the appellant here is not the party who asserted, and
voluntarily dismissed, the remaining claim after a dispositive ruling on other claims.
Rather, the § 1983 claim was forgone by appellees, who initially brought the claim
and fully prevailed in the district court—a circumstance that eliminates any concern
about the possibility of manipulation by a losing litigant for the purpose of “secur[ing]
an otherwise unavailable interlocutory appeal.” Chappelle, 84 F.3d at 654.

        Moreover, whether the § 1983 claim was dismissed with or without prejudice
is inconsequential as a practical matter because both of plaintiffs’ claims turned on
the same legal preemption theories. See Chappelle, 84 F.3d at 654 n.3 (counseling for
taking “a practical view of the dismissal”). As the parties acknowledged during oral
argument, this Court’s decision on the district court’s preemption ruling will control
the § 1983 claim, no matter whether the Court reverses or affirms the judgment. See
Oral Arg. at 3:35-4:46, 13:40-13:55. If the Court concludes that the ABA is not
preempted and reverses the judgment below, plaintiffs cannot pursue their § 1983
claim, which hinges on preemption theories that this Court will have rejected. And if
the Court affirms the judgment, plaintiffs will have obtained the ultimate relief they
sought in this lawsuit.3 Either way, all of plaintiffs’ claims will be “effectively disposed
of” on the merits. Affinity Living Grp. v. StarStone Specialty Ins. Co., 959 F.3d 634,
639 (4th Cir. 2020) (upholding appellate jurisdiction under analogous circumstances).
And there will be no “right to ‘revive’ those claims” for further litigation. Microsoft
Corp. v. Baker, 137 S. Ct. 1702, 1715 (2017). The actual and intended effect of the
final judgment is to bar plaintiffs from pursuing their § 1983 claim. This appeal thus
“furthers the goal of judicial economy” that underlies § 1291’s finality requirement
for appellate jurisdiction. Chappelle, 84 F.3d at 654.



3 Although prevailing under § 1983 could entitle plaintiffs to attorney’s fees under 42
U.S.C. § 1988, the prospect of such a fee motion does not vitiate the underlying merits
decision’s finality. See Budinich v. Becton Dickinson & Co., 486 U.S. 196, 202-03
(1988). Further, during the oral argument, counsel for plaintiffs represented that
plaintiffs do “not intend to litigate” the § 1983 claim even if they prevail on appeal,
and “to the extent that § 1983 [allows] attorney’s fees,” plaintiffs “were not looking to
impose those costs on the State.” Oral Arg. at 15:48-15:52, 16:44-16:51.

                                             3
           Case 21-1975, Document 210, 01/20/2023, 3455849, Page4 of 5




       In any event, developments during an appeal may ripen a judgment into one
that is “‘final’ for purposes of 28 U.S.C. § 1291 because it decided all of the claims
between the parties,” and a previously filed notice of appeal may carry forward to the
newly final judgment. Smith ex rel. Smith v. Half Hollow Hills Cent. Sch. Dist., 298
F.3d 168, 171-72 (2d Cir. 2002). Here, on the record at the oral argument, counsel for
plaintiffs agreed to dismiss their § 1983 claim with prejudice, if doing so would have
no preclusive effect on the claim for which relief was entered below. Oral Arg. at
14:40-15:20, 16:52-17:10. The State accepted that proposal at oral argument, see id.
at 17:30-17:52, and confirms that it waives any contention that the § 1983 claim’s
dismissal has any preclusive effect within this case. These events render the district
court’s judgment and injunction final and reviewable, if there were any doubt before.

       Insofar as the Court expressed concerns about not only finality, but also
adversity, that prerequisite too is present. The parties to this appeal remain adverse
after entry of the stipulated final judgment below, and defendant remains aggrieved
by the final judgment. The declaratory judgment and permanent injunction here did
not result from any settlement among the parties. Instead, the district court expressly
based the judgment and injunction on its legal reasoning in the June 11 preliminary
injunction order. (J.A. 157.) And defendant expressly preserved her right to appeal
from the district court’s judgment, a right that plaintiffs acknowledged. (J.A. 158.)

       This case is not one where, for example, claimants attempted to transform an
unappealable interlocutory order on a collateral issue “into a final judgment within
the meaning of § 1291” by agreeing to dismiss the whole case before an adjudication
on the merits. Microsoft, 137 S. Ct. at 1715. Rather, defendant already had effectively
“lost on the merits and was only seeking an expeditious review” of that determination.
United States v. Procter & Gamble Co., 356 U.S. 677, 680-81 (1958). “In that situation,
an appellant has not consented to a judgment, but only that, if there was to be such
a judgment, it should be final in form instead of interlocutory, so that an appeal may
be taken without further delay.” Ali, 719 F.3d at 88 (cleaned up).

       And even if the stipulated final judgment here were somehow akin to a consent
judgment, the explicit and unequivocal preservation of defendant’s right to appeal
the declaratory judgment and permanent injunction (J.A. 158) would permit
adjudication of this appeal, see LaForest v. Honeywell Int’l Inc., 569 F.3d 69, 73 (2d
Cir. 2009). This preservation of appellate rights reinforces that defendant never
waived her defense of the ABA—the validity of which defendant has continued
vigorously to assert, particularly on behalf of the vulnerable New Yorkers whom the
statute was enacted to benefit. See Linde v. Arab Bank, PLC, 882 F.3d 314, 324 (2d
Cir. 2018) (finding appellate adversity where “parties continue[d] to dispute the legal
basis” for liability determination below, despite agreement about potential remedies,
and each side retained “significant” stake in appeal’s outcome).




                                          4
           Case 21-1975, Document 210, 01/20/2023, 3455849, Page5 of 5




C.    Alternatively, a Jacobson Remand Is Appropriate

       Finally, if the Court still has doubt about these points, then the Court should
employ the procedure from United States v. Jacobson, 15 F.3d 19 (2d Cir. 1994), and
remand the case for the limited purpose of the district court’s entering a properly
appealable final judgment that aligns with the parties’ clear intent.4 See, e.g., NYSA
Series Tr. v. Dessein, 631 F. App’x 54, 56-57 (2d Cir. 2015) (remanding under Jacobson
for entry of final appealable judgment); Novella v. Westchester County, 335 F. App’x
73, 75-76 (2d Cir. 2009) (same). The case can then return “to this panel for
consideration without the need for a new notice of appeal, briefing schedule, and
reassignment to a new panel unfamiliar with the case.” Admiral Ins. Co. v. Niagara
Transformer Corp., No. 21-2733, 2023 WL 115364, at *6 (2d Cir. Jan. 6, 2023)
(quotation marks and brackets omitted).


                                       Respectfully submitted,

                                         /s/ Judith N. Vale
                                       Judith N. Vale
                                       Deputy Solicitor General


cc:   Counsel of record (by ECF)




4 For example, the parties could seek formally to amend the written judgment to
remedy the issue of the § 1983 claim’s dismissal without prejudice, or the parties
could seek to reopen the judgment and file cross-motions for summary judgment
reliant on the prior preliminary injunction briefing.

                                          5
